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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Civil Action No.: 23-cv-03415-GPG-MEH

Farm Credit Leasing Services Corporation,

       Plaintiff,

v.

Good Forage, LLC,
Clayton A. Good,
Arnold Good, and
Wesley James Wittman,

       Defendants.


                                     SCHEDULING ORDER

                               1. DATE OF CONFERENCE
                    AND APPEARANCES OF COUNSEL AND PRO SE PARTIES
       The Telephonic Scheduling Conference is set for March 25, 2024 at 11:30 a.m. in

Courtroom A 501 before Chief Magistrate Judge Michael E. Hegarty.


 Plaintiff Farm Credit Leasing Services Corporation

 Zane A. Gilmer
 STINSON LLP
 1144 Fifteenth Street, Suite 2400
 Denver, CO 80202
 Phone: 303.376.8416
 Email: zane.gilmer@stinson.com

 Benjamin J. Court
 STINSON LLP
 50 South Sixth Street, Suite 2600
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 Defendants Arnold Good (“A. Good”) and Wesley James Wittman (“Wittman”)

 Benjamin Volpe
 Anna Regina Bloomer
 David Robert Tscheschke
 Volpe Law LLC
 19751 East Mainstreet, Suite 342
 Parker, CO 80138
 Phone: 720-640-6656
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 Defendants Good Forage, LLC (“Company”) and Clayton A. Good (“C. Good”)

 Plaintiff's counsel invited C. Good to attend the Rule 26(f) conference between counsel, but C.
 Good did not join the call. In addition, Plaintiff's counsel provided a copy of the draft scheduling
 order to C. Good via email and requested edits or other input, but C. Good did not respond to
 the request.


                              2. STATEMENT OF JURISDICTION

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, because the

amount in controversy exceeds $75,000 and the parties are citizens of different states.

                        3. STATEMENT OF CLAIMS AND DEFENSES

a. Plaintiff:

       Plaintiff Farm Credit Leasing is engaged in, among other things, the business of leasing

equipment and other personal property to businesses and sole proprietors in the agriculture

industry.   Defendants are customers of Farm Credit Leasing who obtained possession of

agriculture equipment from Farm Credit Leasing, as defined and described more specifically in


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the Complaint, including a baler, shredder, stacker, trailer, and swather (collectively, the

"Equipment"), pursuant to certain commercial equipment lease agreements or they personally

guaranteed obligations arising from such agreements. Farm Credit Leasing's claims derive from

Defendants' failure to perform their obligations under the commercial equipment lease agreements

and guarantees. Specifically, Defendants failed to pay all amounts due to Farm Credit Leasing and

failed and/or refused to return the underlying Equipment, even after Defendants defaulted on their

payment obligations under the applicable lease agreements and guarantees, and after Farm Credit

Leasing demanded the return of the Equipment. Instead, Farm Credit Leasing has alleged that

Defendants moved and/or sold some or all of the Equipment, and retained the proceeds thereof, in

violation of the operative agreements and Farm Credit Leasing's interest in the Equipment.

       Farm Credit Leasing has asserted a total of eight claims for relief: 1 (1) Breach of Contract

against Defendant Good Forage, LLC ("Company") for its failure to make the required payments

under the respective lease agreements and or selling the Equipment without authorization from

Farm Credit Leasing; (2) Breach of Contract against Company and Wesley James Wittman for

failing to make the required payments under the respective lease agreement; (3) Breach of Contract

against Arnold Good and Clayton Good based on their failure to perform their obligations under

certain personal guarantees; (4) Breach of Contract against Clayton Good based on his failure to

perform his obligations under another personal guarantee; (5) Unjust Enrichment (in the alternative

to the prior claims) against all of the Defendants, because they received the benefit of the


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  The Complaint's section setting forth the claims for relief contains inadvertent typographical
errors concerning the counts (i.e., beginning with the Claim for Civil Theft, the Complaint
incorrectly lists that claim as Count V, but it should be Count VII and the following Claim for
Replevin should be labeled Count VIII, not Count VI).
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Equipment but failed to pay Farm Credit Leasing for their use; (6) Conversion against all of the

Defendants for selling or otherwise disposing of the Equipment without Farm Credit Leasing's

authorization; (7) Civil Theft against the Company for failing and/or refusing to return the

Equipment, even after Farm Credit Leasing made multiple demands, and for selling the Equipment

and keeping the proceeds thereof without authorization from Farm Credit Leasing; (8) Replevin

against all of the Defendants, seeking an order requiring the Defendants to return the Equipment

to Farm Credit Leasing.

b. Defendant Good Forage LLC:

c. Defendant Clayton Good:

d. Defendant Arnold Good:

       Defendant Arnold Good (“Defendant A. Good”) did not lease any equipment at issue in

this lawsuit from Plaintiff. As alleged in the Complaint, Defendant A. Good signed a single

personal guaranty for one single lease at issue in this suit for a baler. Defendant A. Good is ready

and always has been ready to make full payment of all amounts owed on the baler lease and

collection costs attributably solely to himself once Plaintiff produces evidence that lessee Good

Forage LLC is delinquent on the lease, the amount still owed, and Plaintiff’s collection costs

attributed solely to Defendant A. Good. As of this date, Plaintiff has refused to accept this offer in

full satisfaction of all debts that could possibly be owed under the facts pled in the Complaint.

Plaintiff is attempting to pressure Defendant A. Good into providing further cooperation and/or

assistance to Plaintiff in locating other equipment at issue in this action which Defendant A. Good

is not legally responsible for providing under any possible theory of relief pursuant to the facts

pled in the Complaint. Plaintiff appears to be pursuing further litigation against Defendant A. Good
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in a bad faith attempt to increase Defendant A. Good’s litigation expenses, increase Plaintiff’s

collection costs, force Defendant A. Good to provide further services to Plaintiff that are not legally

required under any cognizable legal theory, and otherwise harass, annoy, and oppress Defendant

A. Good without cause. Defendant A. Good reserves all rights to seek sanctions and other

appropriate relief against both Plaintiff and Plaintiff’s legal counsel for this abusive use of the

justice system as a full and complete offer of settlement for all monies that could conceivably be

owed has already been tendered, but Plaintiff has refused to accept this offer without justification.

e. Defendant Wesley Wittman:

       Defendant Wesley Wittman (“Defendant Wittman”) did not sign any equipment leases at

issue in this litigation nor did he sign any personal guaranties. Defendant Wittman is the victim of

a forgery committed by other person(s) who signed his name on a single lease for a swather at

issue in this litigation. Over three years ago, Defendant Wittman provided Plaintiff with samples

of his signature to demonstrate that he had never signed the lease in the first instance. Plaintiff

agreed with Defendant Wittman, removed him from any further collection notices for the swather,

and amended its UCC Financing Statement for the swather to indicated that Defendant Wittman

was “deleted” as a putative debtor with respect to that equipment. Now, over three years later,

Plaintiff has instituted this baseless and frivolous legal action in order to annoy, oppress, harass,

and bully Defendant Wittman into paying allegedly past due amounts on a lease he never signed,

pressure other defendant(s) into paying amounts they allegedly owe, and force Defendant Wittman

into acting as a de facto private investigator for Plaintiff in its search for the missing equipment.

These abusive motives lie outside the proper scope and purpose of a civil suit and constitute abuse

of process. Defendant Wittman has countersued Plaintiff for abuse of process and seeks damages
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for his full attorney fees, costs, and emotional distress for having to defend himself against an

action that Plaintiff filed without any genuine belief that Defendant Wittman ever signed the

equipment lease at issue.

f. Other Parties: None.

                                    4. UNDISPUTED FACTS

The following facts are undisputed:

       None.

                              5. COMPUTATION OF DAMAGES

       Discovery has not yet been conducted in this case. That said, Farm Credit Leasing will seek

monetary relief against the Defendants as follows:

•   For its breach of contract claim against Good Forage, LLC (the "Company"), related to the

    breaches of the leases and/or unjust enrichment damages in the amount of not less than

    $374,806.13, plus late fees, costs, expenses, and reasonable attorneys' fees incurred;

•   For its breach of contract claim against Wittman and the Company related to the breaches of

    the Swather Lease, damages in the amount of not less than $134,698.31, plus late fees, costs,

    expenses, and reasonable attorneys' fees incurred;

•   For its breach of contract claim against A. Good related to the breaches of the Baler Guaranty,

    damages in the amount of not less than $64,208.52, plus late fees, costs, expenses, and

    reasonable attorneys' fees incurred;




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•   For its breach of contract claim against C. Good related to the breaches of the Baler Guaranty,

    damages in the amount of not less than $64,208.52, plus late fees, costs, expenses, and

    reasonable attorneys' fees incurred;

•   For its breach of contract claim against C. Good related to the breaches of the C. Good

    Guaranty and/or unjust enrichment damages in the amount of not less than $240,107.82, plus

    late fees, costs, expenses, and reasonable attorneys' fees incurred;

•   For its conversion claim against all Defendants related to the conversion of the Equipment and

    the proceeds thereof, damages in the amount to be proved at trial related to the value of the

    converted Equipment, plus costs, expenses, and reasonable attorneys' fees incurred;

•   For its civil theft claim against the Company related to the theft of the Equipment and the

    proceeds thereof, in an amount of three times Farm Credit Leasing's actual damages, to be

    proved at trial, plus costs, expenses, and reasonable attorneys' fees;

•   Farm Credit Leasing also seeks pre and post judgment interest.

•   Defendant A. Good does not seek damages at this time but reserves the right to (a) seek

    sanctions against both Plaintiff and Plaintiff’s legal counsel for their bad faith refusal to dismiss

    all claims against him upon full payment of all amounts that could possibly be owed under the

    baler lease guaranty, (b) amend his answer to assert counterclaim(s) for abuse of process and

    the like due to Plaintiff’s bad faith pursuit of litigation after a full offer of settlement has been

    presented and rejected by Plaintiff, and (c) any other relief available.




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•   Defendant Wittman seeks the full value of his attorney fees and costs as well as all

    noneconomic damages attributable to Plaintiff’s abusive, groundless, and frivolous legal

    proceedings against him.

                     6. REPORT OF PRECONFERENCE DISCOVERY AND
                           MEETING UNDER FED. R. CIV. P. 26(f)

a. Date of Rule 26(f) meeting.

        February 29, 2024

b. Names of each participant and party he/she represented.

        Zane Gilmer and Benjamin Court on behalf of Farm Credit Leasing.

        David Tscheschke on behalf of Arnold Good and Wesley James Wittman.

c. Statement as to when Rule 26(a)(1) disclosures were made or will be made.

        April 8, 2024

d. Proposed changes, if any, in timing or requirement of disclosures under Fed. R. Civ. P. 26(a)(1).

        The Parties have agreed to make their Rule 26(a)(1) disclosures on March 8, 2024

e. Statement concerning any agreements to conduct informal discovery:
        None
f. Statement concerning any other agreements or procedures to reduce discovery and other litigation costs,
   including the use of a unified exhibit numbering system:

        None
g. Statement as to whether the parties anticipate that their claims or defenses will involve extensive
   electronically stored information, or that a substantial amount of disclosure or discovery will involve
   information or records maintained in electronic form.

        The Parties do not believe this case will involve extensive electronically stored

information. The Parties agree that all discovery may be produced in PDF or native file format

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through commercial document sharing platform(s) and/or via email. Any documents that cannot

feasibly be shared in this manner shall be exchanged via paper format, USB thumb drive, or disk.

h. Statement summarizing the parties’ discussions regarding the possibilities for promptly settling or
   resolving the case.

Plaintiff:

        Discussions have occurred on multiple occasions, are presently occurring, and are

anticipated to continue to occur, but no resolution has been reached as of the date of this filing.

Defendants A. Good and Defendant Wittman:

        As noted above, Defendant A. Good has tendered a full offer of settlement that has not

been accepted by Plaintiff at this time. Defendant Wittman has tendered a settlement offer which

was summarily rejected. Plaintiff has not attempted to engage in any further settlement discussions

with Defendant Wittman.

                                              7. CONSENT

        All parties have not consented to the exercise of jurisdiction of a magistrate judge.

                                   8. DISCOVERY LIMITATIONS

a.      Modifications which any party proposes to the presumptive numbers of depositions or
        interrogatories contained in the Federal Rules.
        Each Party may serve on each opposing Party no more than 25 interrogatories.

        The Parties do not propose any modification to the presumptive number of depositions

under F.R.C.P. 30.


b.      Limitations which any party proposes on the length of depositions.

        7 hours per deposition.

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c.     Limitations which any party proposes on the number of requests for production and/or requests for
       admission.
       Each Party may serve on each opposing Party no more than 25 requests for production of

documents and no more than 25 requests for admission (in addition to any requests seeking an

admission of the authenticity of a document – not to exceed any presumptive limit on the number

of such requests).

d.     Deadline for service of Interrogatories, Requests for Production of Documents and/or Admissions:
       September 16, 2024.

e.     Other Planning or Discovery Orders
       The Court: Before filing a motion for an order relating to a discovery dispute, the movant

must request a conference with the Court by submitting an email, copied to all parties, to

hegarty_chambers@cod.uscourts.gov. See Fed. R. Civ. P. 16, cmt. 2015 Amend. The Court will

determine at the conference whether to grant the movant leave to file the motion. See Section

III(A)(3) of Chief Magistrate Judge Hegarty’s Practice Standards for Civil Actions.


                                9. CASE PLAN AND SCHEDULE

a.     Deadline for Joinder of Parties and Amendment of Pleadings:
       May 25, 2024.
b.     Discovery Cut-off:
       October 18, 2024.

c.     Dispositive Motion Deadline:
       December 30, 2024.




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d.      Expert Witness Disclosure
        1.      The parties shall identify anticipated fields of expert testimony, if any.

        The Parties currently anticipate that expert testimony may be required in the fields of

handwriting analysis and damages. The Parties reserve the right to seek expert testimony in other

field(s) as required by the course of discovery.

        2.      Limitations which the parties propose on the use or number of expert witnesses.

        None.

        3.       The parties shall designate all experts and provide opposing counsel and any pro se parties
        with all information specified in Fed. R. Civ. P. 26(a)(2) on or before August 2, 2024.

        4.      The parties shall designate all rebuttal experts and provide opposing counsel and any pro se
        party with all information specified in Fed. R. Civ. P. 26(a)(2) on or before September 6, 2024.

e.      Identification of Persons to Be Deposed:
        Currently, the Parties anticipate that the following individuals will need to be deposed in

addition to any experts disclosed by any Party:

•    F.R.C.P. 30(b)(6) corporate representative for Good Forage, LLC

•    Clayton A. Good

•    Arnold Good

•    Wesley James Wittman

•    Audrey Good

•    F.R.C.P. 30(b)(6) corporate representative for Farm Credit Leasing Services

•    Lynn Pauly of CoBank and Farm Credit Leasing Services

•    All other Farm Credit Leasing Services personnel necessary or advisable based on the course

     of discovery
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                                10. DATES FOR FURTHER CONFERENCES

a.      Status conferences will be held in this case at the following dates and times:


                                                                                                       .

     b. If no summary judgment motions are filed, the parties shall contact District Judge Gallagher

        jointly via email (Gallagher_Chambers@cod.uscourts.gov) within ten days after the

        dispositive motions deadline to set a Final Pretrial Conference. See Section III.A. of District

        Judge Gallagher’s Standing Order Regarding Pretrial and Trial Procedures – CIVIL. If

        dispositive motions are filed, parties shall contact District Judge Gallagher jointly via email

        within thirty days after the Court has issued a ruling (assuming the case survives a motion for

        summary judgment) to set a Final Pretrial Conference. Id. At least fourteen days before the

        scheduled date of the Final Pretrial Conference, counsel shall meet and confer to develop

        jointly the contents of the proposed Final Pretrial Order. Id. It is the responsibility of Plaintiff’s

        counsel (but if Plaintiff is pro se, it shall be Defendant’s counsel’s responsibility) to schedule

        meetings and then file and submit the proposed Final Pretrial Order. Id. If the parties agree,

        Plaintiff may delegate responsibility for filing and submission to Defendant. Id. Unless

        otherwise ordered, the parties shall submit their proposed Final Pretrial Order no later than

        seven days before the date of the Final Pretrial Conference. Id. The proposed Final Pretrial

        Order should be filed in CM/ECF and submitted electronically in editable (Word) format

        directly to District Judge Gallagher’s Chambers at Gallagher_Chambers@cod.uscourts.gov.

        Id.




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                                11. OTHER SCHEDULING MATTERS

a. Identify those discovery or scheduling issues, if any, on which counsel after a good faith effort, were
   unable to reach an agreement.
       None.
b. Anticipated length of trial and whether trial is to the court or jury.
        Plaintiff: 5 days to the court.
        Defendant A. Good: 5 days to the jury. As explained in Defendant A. Good’s Answer, he

        never waived any right to a trial by jury of his peers in his role as guarantor of the single

        baler lease at issue and demands that all claims against him be heard by a jury of his peers.

        Defendant Wittman: 5 days to the jury. As explained in Defendant Wittman’s Answer

        and Countercomplaint, he never waived the right to a trial by jury of his peers as he never

        signed the purported swather lease at issue and demands that all claims against him as well

        as his counterclaim against Plaintiff be heard by a jury of his peers.

        Defendant C. Good:
        Defendant Good Forage LLC:
c. Identify pretrial proceedings, if any, that the parties believe may be more efficiently or economically
   conducted in the District Court’s facilities at 212 N. Wahsatch Street, Colorado Springs, Colorado
   80903-3476; Wayne Aspinall U.S. Courthouse/Federal Building, 402 Rood Avenue, Grand Junction,
   Colorado 81501-2520; or the U.S. Courthouse/Federal Building, La Plata County Courthouse 1060 E. 2nd
   Avenue, Suite 150, Durango, Colorado 81301.

        None.

                             12. NOTICE TO COUNSEL AND PRO SE PARTIES

      The parties filing motions for extension of time or continuances must comply with
D.C.COLO.LCivR 6.1(c) by serving the motion contemporaneously upon the moving attorney's client.

        Counsel will be expected to be familiar and to comply with the Pretrial and Trial Procedures or
Practice Standards established by the judicial officer presiding over the trial of this case.

        With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

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       Counsel and unrepresented parties are reminded that any change of contact information
must be reported and filed with the Court pursuant to the applicable local rule.

                          13. AMENDMENTS TO SCHEDULING ORDER

       This Scheduling Order may be altered or amended only upon a showing of good cause.


DATED at Denver, Colorado, this 25th day of March, 2024.

                                                     BY THE COURT:

                                                      S/Michael E. Hegarty
                                                     Chief United States Magistrate Judge

APPROVED:

s/ Zane A. Gilmer                                s/ Benjamin Volpe
Zane A. Gilmer                                   Benjamin Volpe
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                                                 Wesley James Wittman




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